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                                                         United States District Court                                              JS-3
                                                         Central District of California


    UNITED STATES OF AMERICA vs.                                             Docket No.             CR 20-177-DMG

    Defendant         MARK YICK WONG                                         Social Security No. 8          9      7     0

    akas: Mark Yick Fai Wong                                                 (Last 4 digits)

                                           JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                       MONTH   DAY     YEAR
              In the presence of the attorney for the government, the defendant appeared in person on this date.        JAN        6   2021


    COUNSEL                                                           Andrew S. Cowan, Retained
                                                                             (Name of Counsel)

       PLEA           X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                 NOT
                                                                                                                CONTENDERE             GUILTY
    FINDINGThere being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
          Bank Fraud in violation of Title 18 U.S.C. § 1344(2) as charged in Count 1 of the Information.
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered
  COMM    that: Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to
  ORDER   the custody of the Bureau of Prisons to be imprisoned for a term of: ONE DAY.1


           It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due immediately.

        Pursuant to the factors set forth in 18 U.S.C. § 3664(f), it is ordered that the defendant shall pay to the United States a total fine of
$2,000, which shall be due within 30 days of the entry of Judgment.

           It is ordered that the defendant shall pay restitution in the total amount of $219,795 pursuant to 18 U.S.C. § 3663A.

           The amount of restitution ordered shall be paid as follows:

                      Victim                              Amount

                      Bank of the West                    $219,795

         The victim address to which restitution payments shall be transmitted shall be provided by the Government. Such information shall be
filed within 10 court days of the entry of judgment and will be incorporated herein by this reference.

          The Court finds from a consideration of the record that the defendant's economic circumstances allow for restitution payments pursuant
to the following schedule: An initial partial payment of $50,664 shall be paid immediately. Any payment already paid prior to entry of judgment
shall be credited toward this initial partial payment. Monthly payments on the remaining balance of the restitution owed shall be at least 10% of
the defendant’s gross monthly income but not less than $1,000, whichever is greater. These monthly payments shall begin 30 days after the
commencement of supervision.

         Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the defendant does not have the ability to
pay interest. Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

           The defendant shall comply with Second Amended General Order No. 20-04.

           The defendant shall be placed forthwith on supervised release for a term of TWO (2) YEARS under the following terms and conditions:

1
    The parties orally stipulated that the defendant need not submit to the United States Marshal for one day of custody in the Bureau of Prisons.
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         1.   The defendant shall comply with the rules and regulations of the United States Probation and Pretrial Services Office and Second
              Amended General Order 20-04.

         2.   The defendant shall not commit any violation of federal, state, or local law or ordinance.

         3.   During the period of community supervision, the defendant shall pay the special assessment, fine, and restitution in accordance
              with this judgment’s orders pertaining to such payment.

         4.   The defendant shall participate for a period of TWO (2) MONTHS in a home detention program which may include electronic
              monitoring, GPS, or voice recognition and shall observe all rules of such program, as directed by the Probation Officer. During
              this period of home detention, the defendant shall be permitted to go to and from his place of employment and to any medical or
              counseling appointments.

         5.   Following the completion of home detention, the defendant shall perform 100 hours of community service, as directed by the
              Probation Officer.

         6.   The defendant shall not be employed by, affiliated with, own or control, or otherwise participate, directly or indirectly, in the
              conduct of the affairs of any financial institution insured by the Federal Deposit Insurance Corporation.

         7.   The defendant shall not be employed in any capacity wherein he has custody, control, or management of his employer’s funds,
              without the prior written approval of the Probation Officer.

         8.   The defendant shall not obtain or possess any driver's license, Social Security number, birth certificate, passport or any other form
              of identification in any name, other than the defendant's true legal name, nor shall the defendant use, any name other than the
              defendant's true legal name without the prior written approval of the Probation Officer.

         9.   The defendant shall apply all monies received from income tax refunds, lottery winnings, inheritance, judgments, and any
              anticipated or unexpected financial gains to the outstanding court-ordered financial obligation.

         10. The defendant shall submit his person, property, house, residence, vehicle, papers, or other areas under the defendant’s control, to
             a search conducted by a United States Probation Officer or law enforcement officer. Failure to submit to a search may be grounds
             for revocation. The defendant shall warn any other occupants that the premises may be subject to searches pursuant to this condition.
             Any search pursuant to this condition will be conducted at a reasonable time and in a reasonable manner upon reasonable suspicion
             that the defendant has violated a condition of his supervision and that the areas to be searched contain evidence of this violation.

         11. The defendant shall cooperate in the collection of a DNA sample from the defendant.

The drug testing condition mandated by statute is suspended based on the Court’s determination that the defendant poses a low risk of future
substance abuse.

         The Court dismisses the remaining count of the underlying information.

         The bond is exonerated.

         The Court informs the defendant of his right to appeal.




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 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            Janaury 11, 2021
            Date                                                           Dolly M. Gee, U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                           Clerk, U.S. District Court




            Jauary 11, 2021                                         By     /s/
            Filed Date                                                     Deputy Clerk



 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local crime;        9.     The defendant must not knowingly associate with any persons
 2.    The defendant must report to the probation office in the federal                    engaged in criminal activity and must not knowingly associate with
       judicial district of residence within 72 hours of imposition of a                   any person convicted of a felony unless granted permission to do so
       sentence of probation or release from imprisonment, unless                          by the probation officer. This condition will not apply to intimate
       otherwise directed by the probation officer;                                        family members, unless the court has completed an individualized
 3.    The defendant must report to the probation office as instructed by the              review and has determined that the restriction is necessary for
       court or probation officer;                                                         protection of the community or rehabilitation;
 4.    The defendant must not knowingly leave the judicial district without         10.    The defendant must refrain from excessive use of alcohol and must
       first receiving the permission of the court or probation officer;                   not purchase, possess, use, distribute, or administer any narcotic or
 5.    The defendant must answer truthfully the inquiries of the probation                 other controlled substance, or any paraphernalia related to such
       officer, unless legitimately asserting his or her Fifth Amendment                   substances, except as prescribed by a physician;
       right against self-incrimination as to new criminal conduct;                 11.    The defendant must notify the probation officer within 72 hours of
 6.    The defendant must reside at a location approved by the probation                   being arrested or questioned by a law enforcement officer;
       officer and must notify the probation officer at least 10 days before        12.    For felony cases, the defendant must not possess a firearm,
       any anticipated change or within 72 hours of an unanticipated change                ammunition, destructive device, or any other dangerous weapon;
       in residence or persons living in defendant’s residence;                     13.    The defendant must not act or enter into any agreement with a law
 7.    The defendant must permit the probation officer to contact him or her               enforcement agency to act as an informant or source without the
       at any time at home or elsewhere and must permit confiscation of                    permission of the court;
       any contraband prohibited by law or the terms of supervision and             14.    The defendant must follow the instructions of the probation officer
       observed in plain view by the probation officer;                                    to implement the orders of the court, afford adequate deterrence from
 8.    The defendant must work at a lawful occupation unless excused by                    criminal conduct, protect the public from further crimes of the
       the probation officer for schooling, training, or other acceptable                  defendant; and provide the defendant with needed educational or
       reasons and must notify the probation officer at least ten days before              vocational training, medical care, or other correctional treatment in
       any change in employment or within 72 hours of an unanticipated                     the most effective manner.
       change;




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   X The defendant must also comply with the following special conditions (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
 for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check or money
 order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number. Payments
 must be delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the Court may in future direct.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United
                         States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to theProbation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement,
 with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan
 or open any line of credit without prior approval of the Probation Officer.

           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
 behalf.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.


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                                                                    RETURN

I have executed the within Judgment and Commitment as follows:
  Defendant delivered on                                                                     to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                              By
            Date                                                     Deputy Marshal

                                                                   CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.
                                                                     Clerk, U.S. District Court


                                                              By
            Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY

Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



         (Signed)
                      Defendant                                                               Date




                      U. S. Probation Officer/Designated Witness                              Date




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